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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    CHESAPEAKE ENERGY CORPORATION, et al.,1                       )        Case no. 20-33233 (DRJ)
                                                                  )
                            Debtors.                              )        (Jointly Administered)
                                                                  )

                      NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

             PLEASE TAKE NOTICE that the undersigned hereby enter their appearance pursuant

to section 1109(b) of the Bankruptcy Code and Bankruptcy Rule 9010(b) in the above-captioned

case as proposed counsel to the OFFICIAL COMMITTEE OF ROYALTY OWNERS in the

above-captioned case, and request that, pursuant to Bankruptcy Rules 2002, 3017 and 9007

and sections 342 and 1109(b) of the Bankruptcy Code, all notices given or required to be given

in this case be given and served upon:

              J. Robert Forshey                               Deirdre Carey Brown, pllc
              Jeff P. Prostok                                 FORSHEY & PROSTOK, LLP
              Suzanne K. Rosen                                1990 Post Oak, Suite 2400
              FORSHEY & PROSTOK, LLP                          Houston, TX 77056
              777 Main St., Suite 1550                        832-367-5722 telephone
              Fort Worth, TX 76102                            dbrown@forsheyprostok.com
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              817-877-4151 facsimile
              bforshey@forsheyprostok.com
              jprostok@forsheyprostok.com
              srosen@forsheyprostok.com

             PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the Bankruptcy

Code, the foregoing request includes the notices and papers referred to in the Rules and

sections cited above, and also includes, without limitation, orders and notices of any application,

motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether



1A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100
North Western Avenue, Oklahoma City, Oklahoma 73118.

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written or oral, and whether transmitted or conveyed by mail, hand delivery, telephone,

telegraph, facsimile, electronically or otherwise filed or served with regard to the referenced

case and proceedings therein.

       This Notice of Appearance shall not be deemed or construed to be a waiver of any

rights, including, without limitation, the right (1) to have final orders in noncore matters entered

only after de novo review by a District Judge, (2) to trial by jury in any proceeding so triable in

this case or any case, controversy, or proceeding related to this case, (3) any consent to the

exercise of the Court's jurisdiction, or (4) to have the District Court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal, or any other rights, claims, actions,

defenses, setoffs, or recoupment in law or equity, all of which rights, claims, actions, defenses,

setoffs, and recoupment are hereby expressly reserved.

DATED: July 26, 2020                               Respectfully Submitted,

                                                   /s/ J. Robert Forshey
                                                   J. Robert Forshey
                                                   State Bar No. 07264200
                                                   Jeff P. Prostok
                                                   State Bar No. 16352500
                                                   Suzanne K. Rosen
                                                   State Bar No. 00798518
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                                                   and

                                                   Deirdre Carey Brown, pllc
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                                                   1990 Post Oak, Suite 2400
                                                   Houston, TX 77056
                                                   832-367-5722 telephone

                                                   PROPOSED COUNSEL FOR THE OFFICIAL
                                                   COMMITTEE OF ROYALTY OWNERS


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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance has
been served upon all parties receiving electronic notice via the Court's CM/ECF system on
July 26, 2020.
                                                 /s/ Suzanne K. Rosen
                                                 Suzanne K. Rosen




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